
OPINION OF THE COURT
Order reversed, with costs, and the mechanic’s lien discharged for reasons stated in the concurring in part and dissenting in part opinion by former Justice James D. Hopkins at the Appellate Division (83 AD2d 444, 449-452).
Concur: Chief Judge Cooke and Judges Jasen, Gabrielli, Jones and Wachtler. Judges Fuchsberg and Meyer dissent and vote to affirm for reasons stated in the opinion by Justice Moses M. Weinstein at the Appellate Division (83 AD2d 444; see, also, Department of Community Affairs &amp; Economic Dev. v Davis &amp; Sons, 412 A2d 939 [Del]).
